861 F.2d 715Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Thomas M. VETERE, Jr., Plaintiff-Appellant,v.Max O. COGBURN, Defendant-Appellee.Thomas M. VETERE, Jr., Plaintiff-Appellant,v.EDITOR of the ASHEVILLE CITIZEN, Paul Clark, Staff Writerfor the Asheville Citizen, Defendants-Appellees.
    No. 88-7654, 88-7655
    United States Court of Appeals, Fourth Circuit.
    Submitted July 27, 1988.Decided Oct. 4, 1988.
    
      Thomas M. Vetere, Jr., appellant pro se.
      Before MURNAGHAN, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Thomas M. Vetere, Jr., appeals the district court's assessment of a partial filing fee of $116.25 in each of these cases.  We dismiss the appeal for lack of jurisdiction.
    
    
      2
      Under 28 U.S.C. Sec. 1291 this Court has jurisdiction over appeals from final orders.  A final order is one which disposes of all issues in dispute as to all parties.  It "ends the litigation on the merits and leaves nothing for the court to do but execute the judgment."   Catlin v. United States, 324 U.S. 229, 233 (1945).
    
    
      3
      As the order appealed from is not a final order, it is not appealable under 28 U.S.C. Sec. 1291.  The district court has not directed entry of final judgment as to particular claims or parties under Fed.R.Civ.P. 54(b), nor is the order appealable under the provisions of 28 U.S.C. Sec. 1292.  Finally, the order is not appealable as a collateral order under Cohen v. Beneficial Industrial Loan Corp., 337 U.S. 541 (1949).
    
    
      4
      Finding no basis for appellate jurisdiction, we deny leave to proceed in forma pauperis and dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal arguments are adequately presented in the materials before the Court and oral argument would not significantly aid the decisional process.
    
    
      5
      DISMISSED.
    
    